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UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF TEXAS

USA

v. cAsE NUMBER 4=17-¢r-116-2

Stockman

Cm¢O'-\CMCMWJ

United States District Court
Southern District of Texas

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